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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

             v.
                                                          Crim. No. 17-cr-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,

                  Defendant.


           GOVERNMENT’S TRIAL BRIEF REGARDING ADMISSIBILITY OF
                   GOVERNMENT’S PROPOSED EXHIBITS

       The United States of America, by and through Special Counsel Robert S. Mueller, III, files

this trial brief addressing defendant Paul J. Manafort, Jr.’s submissions (Docs. 395, 397, 399)

noting objections to the government’s proposed exhibits.         In those submissions, Manafort

generally provides only a citation to a rule of evidence or some identification of the basis for his

objection, so the government is not able to necessarily respond with specificity or detail in each

instance. Manafort’s objections, however, can be grouped by the rule of evidence cited, and they

generally fall into one of the following categories: (A) relevance/prejudice; (B) hearsay;

(C) authentication; and (D) Rule 1006/summary charts. 1

       Below, the government sets forth the applicable law as to each rule and addresses various

exhibits to illustrate the application of these rules. That is, the government submits this brief to

set forth the relevant guiding principles, not to address each of the defendant’s objections as the

defendant has objected to more than 1000 of the government’s proposed exhibits. At the upcoming

status conference, the Court may choose to address the issues and exhibits in groups, allowing the

parties to apply the Court’s rulings to similarly situated exhibits. The government also addresses


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         The government understands that the defense has now withdrawn its objections that
certain documents do not constitute business records.
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below the defendant’s objection to various stipulations proposed by the government on the grounds

that the exhibits at issue in the stipulations are cumulative.

   A. Relevance/Prejudice—Federal Rules of Evidence 401, 402, and 403

       Manafort objects to a number of proposed exhibits under Federal Rules of Evidence 401,

402, and 403. Rule 401 provides that evidence is relevant if “(a) it has any tendency to make a

fact more or less probable than it would be without the evidence; and (b) the fact is of consequence

in determining the action.” Fed. R. Evid. 401. Relevant evidence is admissible unless otherwise

precluded by law. Fed. R. Evid. 402. Under Rule 403, “[t]he court may exclude relevant evidence

if its probative value is substantially outweighed by a danger of one or more of the following:

unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or

needlessly presenting cumulative evidence.” Fed. R. Evid. 403. “Unfair prejudice” means “an

undue tendency to suggest decision on an improper basis . . . .” Old Chief v. United States, 519

U.S. 172, 180 (1997) (internal quotation marks omitted). “In balancing probative value against

prejudicial effect, [the D.C. Circuit] lean[s] toward admitting evidence in close cases.” United

States v. Brown, 16 F.3d 423, 431 (D.C. Cir. 1994) (internal quotation marks omitted).

       Manafort asserts relevancy and prejudice objections to a number of government exhibits,

including telephone record, emails, memoranda, photographs, and other evidence related to his

expenditures from unreported and untaxed income. 2 While the government is prepared to address

these issues at the upcoming status conference, many of these exhibits are relevant on their face.


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         At trial, the government will introduce through the defendant’s bookkeeper and tax
preparers various general ledgers kept with respect to Manafort’s personal and business expenses
and to which generally there is no objection. The defendant has objected to the various DMP
Financial Statements also created by Manafort’s bookkeeper (Government Exhibits 26, 34, 42,
49, 50, 76, 77, 78, and 79), and the government does not presently intend to admit those exhibits
during its case-in-chief, but reserves the right to seek admission based on cross-examination of
various witnesses at trial.

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For example, the defendant objections on “Relevance FRE 402/403” grounds to Government

Exhibits 5, 6, 7, 8, and 9. These exhibits contain telephone records relating to Manafort’s

communications, and efforts to communicate, with the individual identified as Person D1 in the

Count Six and Seven obstruction charges. These records are direct evidence of Manafort’s

obstruction of justice and there can be little question as to their relevance.

       1. Memoranda and Emails relating to Political and Lobbying Work

       The defendant has also objected on relevance/prejudice grounds to a series of memoranda,

many written by the defendant to government officials in Ukraine relating to his work there. For

example, the defendant objects to Government Exhibits 500 and 501, both memoranda from

Manafort to Rinat Akhmetov, a prominent Ukrainian businessman (and oligarch) who first

approached Manafort about working for the Party of Regions. The memo in Government Exhibit

500 is entitled: Major Development in US Government Position on Ukraine Re‐privatization,

and the memo in Government Exhibit 501 is entitled: “Evolution of US Policy to Ukraine.”

These memos are relevant to establish the relationship between Manafort and Akhmetov, the fact

that their relationship dates back to 2005 (when Manafort first began working in Ukraine), and the

fact that Manafort is providing advice to Akhmetov on U.S. policy relating to Ukraine. Akhmetov

was a key supporter, and financier, of the Party of Regions, the principal political party that funded

Manafort’s work in the Ukraine.

       The defendant also objects to the following exhibits (among others) on relevance/prejudice

grounds (and on some occasions other grounds)—all of which relate to Manafort’s election and

lobbying work in the Ukraine and are thus relevant to the FARA, money laundering, and tax

charges: Government Exhibits 514, 515, 520, 565, 570, 573, 576, 1032, 1054, 1070, 1250 and

1727. These exhibits, and Manafort’s work in the Ukraine, pertain to the tax charges because



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Manafort used some portion of these funds, funneled through overseas accounts, to make direct

payments to vendors in the United States without declaring that income on his U.S. tax returns.

       2. Vendor Payments

       A substantial number of the defendant’s remaining objections on relevance/prejudice

grounds deal with the exhibits establishing the defendant’s expenditures on goods, services, and

property through wire transfers from foreign bank accounts to bank accounts he controlled and to

United States vendors.      These include invoices, charts summarizing those payments, and

photographs. 3 At the September 5, 2018, pretrial conference, the Court addressed this issue, and,

consistent with the Court’s instruction, the government does not plan to unduly highlight this

evidence at trial. The government has proposed that relevant evidence relating to more than half

of the vendors at issue be admitted by stipulation.

       Courts have consistently held in money laundering, tax, and other financial crime cases

that evidence of a defendant’s lavish spending and lifestyle is relevant to his intent and motive and

is not unduly prejudicial. See, e.g., United States v. Cohen, 539 Fed. Appx. 743, 745 (9th Cir.

2013) (“The district court did not abuse its discretion by admitting evidence about Cohen’s lavish

lifestyle because a description of his lifestyle was probative of the manner in which Cohen




       3
          For example, the defendant objects to the following: Government Exhibits 314 and 315
(photographs of work completed at N. Arlington property), Government Exhibit 320 (photograph
of Mercedes–Benz), Government Exhibits 329 to 334 and 338 to 346 (photographs of work
completed at the Bridgehampton property), Government Exhibit 679 (photographs of clothing
seized at Manafort’s residence with Alan Couture labels), Government Exhibit 680 (photographs
of clothing seized at Manafort’s residence with House of Bijan labels), and Government Exhibit
681 (photographs of House of Bijan watch seized at Manafort’s residence). Each of these
exhibits contains photographs of the personal items and/or services that Manafort purchased
directly from his overseas accounts; accordingly, these photographs are direct evidence of his
unreported income. Government Exhibits 801, 802, and 803 are photographs of the apartment
and other residential buildings that Manafort purchased with overseas accounts—which are also
evidence of his unreported income.
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conducted his [money laundering, wire fraud, and tax evasion] scheme and relevant to whether the

money he received was an investment, a loan, or funds he spent rather than funds he intended to

repay.”); United States v. Arledge, 553 F.3d 881, 895 (5th Cir. 2008) (holding that evidence of the

defendant’s lavish spending was properly admitted to prove money laundering counts); United

States v. Blanchard, 618 F.3d 562, 569-70 (6th Cir. 2010) (holding that evidence of defendant’s

personal spending on automobiles, gambling, and firearms “is pertinent to whether an offense has

been committed under § 7202, since it bears on the willfulness of the defendant’s failure to pay

over withheld tax to the government”); United States v. Simonelli, 237 F.3d 19, 30 (1st Cir. 2001)

(describing as “strong evidence” of tax fraud “the expenditures of considerable sums of money for

his personal benefit: homes, country clubs, cars and other accoutrements of wealth, with little of

the sums to pay for these things reported to tax authorities as his income or as a loan to him”).

       Further, limited photographs of and invoices for Manafort’s purchases are not unduly

prejudicial under Fed. R. Evid. 403 simply because they reveal lavish spending. The photographs

and invoices make clear that the expenditures were for personal purposes and assist the

government in telling the jury a “comprehensible story.” United States v. Hazelrigg, 654 Fed.

Appx. 341, 344 (9th Cir. 2016) (“The government properly used photographs of the residence to

help the jury keep the properties straight and to tell a comprehensible story.”). See United States

v. Conley, 826 F.2d 551, 560 (7th Cir. 1987) (upholding, on plain-error review, the admission of

a photograph of the defendant’s “lovely home in a country setting” in an evasion of payment case).




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   B. Hearsay—Federal Rules of Evidence 801, 802, 803, and 805

       Manafort objects to a series of documents, many of them emails, on hearsay grounds, citing

Rules 802 and 805. Generally, these objections are overcome because the documents will not be

admitted for the truth of the matter, or they fall within an exception to the hearsay rule, principally

as statements by Manafort’s agents pursuant to Rule 801(d)(2)(D) or as coconspirator statements

pursuant to Rule 801(d)(2)(E). Other emails are admissible as business records pursuant to Rule

803(6). Given the number of hearsay objections lodged by the defense, and the fact-specific nature

of the analysis, the government does not address those objections here, but rather sets forth the

general grounds under which many of the challenged documents should be admitted.

       1. Statements by the Party’s Agent or Employee

       An opposing party’s statement offered against the opposing party is not hearsay, Fed. R.

Evid. 801(d)(2), and this includes a statement “made by a person whom the party authorized to

make a statement on the subject,” Fed. R. Evid. 801(d)(2)(C); a statement “made by the party’s

agent or employee on a matter within the scope of that relationship and while it existed,” Fed. R.

Evid. 801(d)(2)(D); and a statement “made by the party’s coconspirator during and in furtherance

of the conspiracy,” Fed. R. Evid. 801(d)(2)(E). “The statement must be considered but does not

by itself establish the declarant’s authority under (C); the existence or scope of the relationship

under (D); or the existence of the conspiracy or participation in it under (E).” Fed. R. Evid. 801(d).

       With respect to Rule 801(d)(2)(D), the rule “requires neither adoption nor ratification but

only that the statement is offered ‘against a party,’ and it is ‘by the party’s agent or servant

concerning a matter within the scope of the agency or employment, made during the existence of

the relationship.’” English v. District of Columbia, 651 F.3d 1, 7 (D.C. Cir. 2011) (internal

citations omitted). See Geleta v. Gray, 645 F.3d 408, 415 (D.C. Cir. 2011) (statements by



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employees concerning matters within the scope of their employment are admissible against the

employer). In determining the applicability of Rule 801(d)(2)(D), the court must “undertake a

fact-based inquiry applying common law principles of agency.” United States v. Bonds, 608 F.3d

495, 504 (9th Cir. 2010) (internal quotation marks omitted). “An agent is one who ‘act[s] on the

principal’s behalf and subject to the principal’s control.’” Id. at 506 (quoting Restatement (Third)

Agency § 1.01 (2006)). “To form an agency relationship, both the principal and the agent must

manifest assent to the principal’s right to control the agent,” id. (citing Restatement (Third) Agency

§ 1.01 (2006)), but “it is not necessary to the formation of a relationship of agency that the agent

manifest assent to the principal, as when the agent performs the service requested by the principal

following the principal’s manifestation, or when the agent agrees to perform the service but does

not so inform the principal and does not perform,” Restatement (Third) Agency § 1.01 (2006).

       Here, the evidence establishes, by at least a preponderance of the evidence, see Bourjaily

v. United States, 483 U.S. 171, 175-76 (1987), that Company A, Company B, Company C,

Company D, the Hapsburg group, and a United States law firm, among others, were acting on

Manafort’s behalf and subject to Manafort’s control. For example, Manafort wrote to Ukraine

President Victor Yanukovich that he was “managing” a public and government relations program

for Yanukovich that Manafort “created and paid for [him]self.” Government Exhibit 532 at 1.

Manafort reiterated that he would “be the manager of this process” and “the point for all of these

services.” Government Exhibit 532 at 3. In other memoranda, Manafort made clear to Yanukovich

that he was directing the work of the Hapsburg Group and U.S.-based consultants, who were

engaging in government relations and public relations campaigns for Yanukovich. See, e.g.,

Government Exhibit 606; Government Exhibit 616.




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       Manafort, often through Rick Gates, consistently provided firm instructions to these

“agents” in a number of documents. E.g., Government Exhibit 503. See United States v. Paxson,

861 F.2d 730, 734-35 (D.C. Cir. 1988) (where declarant was acting not directly for the defendant’s

corporation but for a separate corporation “formed and controlled by the defendant and his family

corporation,” declarant was an agent of the defendant for purposes of Rule 801(d)(2)(D)). For

example, on April 8, 2013, Gates wrote to employees at Company A and Company B, noting:

“attached [is] the strategy document submitted to Kyiv and approved. Now we need to implement

it,” and he proposed a call to discuss this issue further (the attached document is entitled “Public

Affairs – Ukraine Strategy”). Government Exhibit 1806. Similarly, on June 24, 2013, Gates

provided specific instructions to Company A and Company B employees to “bottle up the [Durbin]

resolution and to not have it move forward.” Government Exhibit 1833.

       With respect to the work of the U.S. law firm, in 2012, on behalf of President Yanukovych

and the Government of Ukraine’s Ministry of Justice, Manafort solicited that firm to write a report

evaluating the trial of Yanukovych’s political opponent, Yulia Tymoshenko. Manafort caused

Ukraine to hire the law firm so that its report could be used in the United States and elsewhere to

defend the Tymoshenko trial and argue that President Yanukovych had not engaged in selective

prosecution. Manafort retained Company C, a public relations firm, to prepare an extensive media

roll-out plan for the law firm report. As with the other aspects of the U.S. lobbying scheme,

Manafort regularly reported to President Yanukovych and other representatives of the Government

of Ukraine on the law firm’s work and Company C’s lobbying plan. For example, in a July 27,

2012, memorandum to President Yanukovych’s Chief of Staff Sergei Lyovochkin, Manafort

reported on “the global rollout strategy for the [law firm’s] legal report, and provide[d] a detailed

plan of action[ ]” which included       a step-by-step lobbying outreach in the United States.



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Government Exhibit 2065.

       Manafort also directed the law firm’s efforts. As reflected in an internal law firm

memorandum, dated May 2, 2012, Manafort rejected the Ukrainian Law Expert proposed by the

law firm. Government Exhibit 2025. And prior to the release of the law firm’s report, the lead

lawyer requested that a copy of a “Russian version” of the report be sent to Manafort before it was

released to their client (the Ukraine Ministry of Justice). Government Exhibit 2086. Finally, before

the law firm report was finalized, Manafort emailed the lead law firm lawyer, noting his concern

that the report is too critical of Ukraine and soliciting his ideas on how to deal with this “potential

catastrophe.” Government Exhibit 2092.

       2. Coconspirator Statements

       Other statements, including emails, are admissible as coconspirator statements pursuant to

Rule 801(d)(2)(E). Under that rule, a statement is not hearsay if it “is offered against an opposing

party and . . . was made by the party’s coconspirator during and in furtherance of the conspiracy.”

Fed. R. Evid. 801(d)(2)(E). See United States v. Moore, 651 F.3d 30, 84 n.21 (D.C. Cir. 2011).

Statements are made in furtherance of a conspiracy if they “can reasonably be interpreted as

encouraging a co-conspirator or other person to advance the conspiracy, or as enhancing a co-

conspirator or other person’s usefulness to the conspiracy.” United States v. Tarantino, 846 F.2d

1384, 1412 (D.C. Cir. 1988). Such statements include “those that keep a coconspirator updated

on the status of the business, motivate a coconspirator’s continued participation, or provide

background information on key conspiracy members.” United States v. Carson, 455 F.3d 336,

367 (D.C. Cir. 2006) (citations and internal quotation marks omitted). Manafort conspired with,

among others, Richard Gates and Konstantin Kilimnik as to various charged crimes, and the

government will establish the existence of these conspiracies at trial.



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       3. Business Records Exception

       Finally, Rule 803(6), the business records exception to the hearsay rule provides an

additional basis for the admission of various emails and other documents to which the defendant

objects. The rule provides that a record of an act or event is not excluded if “(A) the record was

made at or near the time by—or from information transmitted by—someone with knowledge;

(B) the record was kept in the course of a regularly conducted activity of a business, organization,

occupation, or calling, whether or not for profit; (C) making the record was a regular practice of

that activity; (D) all these conditions are shown by the testimony of the custodian or another

qualified witness, or by a certification that complies with Rule 902(11) or (12) or with a statute

permitting certification; and (E) the opponent does not show that the source of information or the

method or circumstances of preparation indicate a lack of trustworthiness.” Fed. R. Evid. 803(6).

See United States v. Cone, 714 F.3d 197, 219 (4th Cir. 2013).

       Courts have admitted emails pursuant to Rule 803(6). Although it is not sufficient under

Rule 803(6) to show simply that a business keeps and receives e-mails, “properly authenticated e-

mails may be admitted into evidence under the business records exception.” Cone, 714 F.3d at

220. “An email can qualify for admission under Rule 803(6), so long as the proponent shows that

the email was ‘kept in the course of a regularly conducted activity’ and was generated as part of a

‘regular practice’ of that activity.” Charles Alan Wright et al., 30B Fed. Prac. & Proc. Evid. § 6864

(2018 ed.).

   C. Authentication—Federal Rule of Evidence 901

       The defendant has made a series of objections based on “authentication,” pursuant to Fed.

R. Evid. 901. “[T]he issue of authenticity is very fact-specific.” United States v. Vidacak, 553

F.3d 344, 350 (4th Cir. 2009). The burden of authentication is not particularly “demanding,” id.;



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“a proponent need not establish a perfect chain of custody or documentary evidence to support

their admissibility,” id. See United States v. Hassan, 742 F.3d 104, 133 (4th Cir. 2014) (“the

burden to authenticate under Rule 901 is not high”) (internal quotation marks omitted).

       Rule 902 lists items of evidence that are self-authenticating; they require no extrinsic

evidence of authenticity in order to be admitted. Included in this list are certified domestic records

of a regularly conducted activity. Thus, a certification of the custodian or another qualified person

can establish that a domestic record meets the requirements of Rule 803(6)(A)-(C) (as long as the

proponent gives the adverse party reasonable written notice before trial of the intent to offer the

record and makes the record and certification available for inspection so that the party has a fair

opportunity to challenge them). Fed. R. Evid. 902(11). The custodian of records of a regularly

conducted activity can certify in accordance with Rule 902(11) that an email satisfies the criteria

of Fed. R. Evid. 803(6). Paul W. Grimm et al., Authenticating Digital Evidence, 69 Baylor L. Rev.

1, 13 (Winter 2017).

       By way of example, Manafort challenges the authenticity of Government Exhibits 520,

521, and 522, outlines and a memorandum, each of which was obtained from electronic devices

seized during the court-authorized search of the defendant’s residence in July 2017 (as were

Government Exhibits 618, 639, 645, 730 and 818). Other exhibits challenged on authenticity

grounds were obtained during the execution of court-authorized search warrants on particular

email accounts (including Government Exhibits 578, 584, 586, 587, 630, 636, 638, 643, 644, 651-

657, 663, 686, 723, 808, 815, 817, 823, 824, and 826 among others). The government will

authenticate these and all of the other proposed exhibits at trial.




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   D. Summaries and Charts—Federal Rule of Evidence 1006

       Finally, Manafort lodges more than 20 objections on the ground that the proposed exhibits

are not a “proper summary under FRE 1006.” See Doc. 399 at 5. Rule 1006 provides that a

proponent of evidence “may use a summary, chart, or calculation to prove the content of

voluminous writings . . . that cannot be conveniently examined in court. The proponent must make

the originals or duplicates available for examination or copying, or both, by other parties at a

reasonable time and place. And the court may order the proponent to produce them in court.” Fed.

R. Evid. 1006. A summary “‘can help the jury organize and evaluate evidence which is factually

complex and fragmentally revealed in the testimony of a multitude of witnesses throughout the

trial.’” United States v. Mitchell, 816 F.3d 865, 876 (D.C. Cir.) (quoting United States v. Lemire,

720 F.2d 1327, 1348 (D.C. Cir. 1983)), cert. denied, 137 S. Ct. 532 (2016). “To be admissible,

the summary must be ‘accurate and nonprejudicial; and the witness who prepared the summary

should introduce it.’” Mitchell, 816 F.3d at 876 (quoting United States v. Fahnbulleh, 752 F.3d

470, 479 (D.C. Cir. 2014)). See also United States v. Hemphill, 514 F.3d 1350, 1358 (D.C. Cir.

2008) (“To be admissible, a chart must summarize documents so voluminous as to make

comprehension difficult and . . . inconvenient, although not necessarily literally impossible; the

documents themselves must be admissible, although the offering party need not actually enter

them; the party introducing the chart must make the underlying documents reasonably available

for inspection and copying; and the chart must be accurate and nonprejudicial.”) (internal quotation

marks omitted).

       Rule 1006 permits the admission of “charts into evidence as a surrogate for underlying

voluminous records”; its purpose “is to reduce the volume of written documents that are introduced

into evidence by allowing in evidence accurate derivatives from the voluminous documents.”



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United States v. Janati, 374 F.3d 263, 272 (4th Cir. 2004). See Hemphill, 514 F.3d at 1359 (“[T]he

point of Rule 1006 is to avoid introducing all the documents. As long as a party has laid a

foundation for the underlying documents, a chart summarizing them can itself be evidence under

Rule 1006.”).

       Notwithstanding Manafort’s objections, this is the prototypical case for the admission of

summary charts under Rule 1006: it is a complex financial case, see Hayes, 322 F.3d at 799

(summary charts correctly admitted in tax case because “numerous witnesses testified about

multiple errors in 24 different tax returns; consequently, the charts may have aided the jury in

organizing the information it received”); the underlying records summarized in the government’s

charts are indisputably too voluminous to be conveniently examined in court, see United States v.

Blackwell, 436 Fed. Appx. 192, 199 (4th Cir. 2011) (summary charts correctly admitted where

underlying evidence consisted of large number of telephone records); those underlying records are

themselves admissible and were provided to the defense, see id. (underlying telephone records

were admissible); United States v. Loayza, 107 F.3d 257, 264 (4th Cir. 1997) (defense counsel had

pretrial access to the original documents from which the summary charts were prepared); and

government agents prepared the charts and will be subject to cross-examination, see id. at 264

(defense counsel had an opportunity to cross-examine the testifying agent); Lemire, 720 F.2d at

1348 (“[A] full opportunity to cross-examine . . . alleviat[es] any danger of inaccuracy or unfair

characterization.”).

       Manafort specifically objects to a series of “vendor charts” that summarize a number of

vendor invoices and bank records. Government Exhibit 325, for example, summarizes landscaping

services provided at Manafort’s Bridgehampton, New York, property for the period from March

2010 to November 2014, involving more than 50 invoices and payments of approximately



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$450,000. This chart and others like it meet the requirements of Rule 1006 and should be admitted

accordingly. Though the government has summarized all transactions with vendors in charts to

facilitate the testimony of certain witness, where the underlying records are not voluminous, the

government will not seek to either admit these exhibits or display them to the jury.

       Government Exhibits 421, 422, and 423, to which the defendant objects, constitute flow

chart diagrams that trace the money Manafort used to purchase various real estate properties back

to his overseas accounts (again evidencing his untaxed income). The government proposes to

show these diagrams to the jury as demonstrative exhibits under Rule 611, but will not seek to

admit them as exhibits (and will not seek to have them made available to the jury during their

deliberations). The government’s proposed tax expert also will introduce several demonstrative

exhibits, which the government proposes to display to the jury, but which will not be admitted into

evidence.

   E. Stipulations

       Finally, with respect to the various proposed stipulations proposed by the government,

including those establishing certain categories of documents as business records, the defense has

lodged a series of objections noting that the exhibits are cumulative. We understand from the

defense that, should the Court overrule these objections, the defense will not challenge the

admission of these exhibits pursuant to Rule 803(6).


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    As noted, the government files this trial brief principally to set forth the governing principles

that govern the defendant’s objections, and it will be prepared to further address each of the

specific objections at the upcoming status conference.




                                              Respectfully submitted,

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                                              Special Counsel

Dated: September 12, 2018             By:     _/s/ Andrew Weissmann________________
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